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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE: THE APPOINTMENT OF CHIEF                    : STANDING ORDER NO: 2021-1
MAGISTRATE JUDGE OF THE UNITED                     :
STATES DISTRICT COURT FOR THE                      :
MIDDLE DISTRICT OF PENNSYLVANIA                    :


                                    STANDING ORDER


       AND NOW, this 4th day of January 2021, IT IS HEREBY ORDERED that Magistrate

Judge Karoline Mehalchick shall serve as Chief Magistrate Judge of the United States District

Court for the Middle District of Pennsylvania effective January 4, 2021 through January 3, 2025.



                                                           BY THE COURT:


                                                           s/ John E. Jones III
                                                           Hon. John E. Jones III, Chief Judge
                                                           United States District Court
                                                           Middle District of Pennsylvania
